                     Case 1-15-44838-nhl           Doc 8       Filed 10/30/15         Entered 10/31/15 00:18:51


                                               United States Bankruptcy Court
                                               Eastern District of New York
In re:                                                                                                     Case No. 15-44838-nhl
Guillermo Rodriguez                                                                                        Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0207-1                  User: mmendieta                    Page 1 of 1                          Date Rcvd: Oct 28, 2015
                                      Form ID: 245                       Total Noticed: 3


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Oct 30, 2015.
db             +Guillermo Rodriguez,    308 Harman Street,   Brooklyn, NY 11237-4933
8686516        +Wells Fargo Bank,    c/o Frankel, Lambert and Weiss,   20 West Main Street,,
                 Bayshore, NY 11706-8326

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg            +E-mail/Text: ustpregion02.br.ecf@usdoj.gov Oct 28 2015 18:16:00
                 Office of the United States Trustee,   Eastern District of NY (Brooklyn Office),
                 U.S. Federal Office Building,   201 Varick Street, Suite 1006,   New York, NY 10014-9449
                                                                                            TOTAL: 1

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.
Date: Oct 30, 2015                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on October 28, 2015 at the address(es) listed below:
              Marianne DeRosa    Derosa@ch13mdr.com, mderosa13@ecf.epiqsystems.com
              Office of the United States Trustee   USTPRegion02.BR.ECF@usdoj.gov
                                                                                            TOTAL: 2
           Case 1-15-44838-nhl            Doc 8      Filed 10/30/15       Entered 10/31/15 00:18:51


                                  United States Bankruptcy Court
                                        Eastern District of New York
                                    271−C Cadman Plaza East, Suite 1595
                                        Brooklyn, NY 11201−1800

                       NOTICE OF ELECTRONIC FILING PROCEDURE −
                   INFORMATION REGARDING MEETING OF CREDITORS
Case Name: Guillermo Rodriguez

Case Number: 1−15−44838−nhl                     Date Filed: October 28, 2015

The above case was filed electronically, and is accessible via the Court's Internet site at
http://www.nyeb.uscourts.gov. In compliance with EDNY LBR 9011−1(b) and the court's General Order on
Electronic Filing Procedures ("General Order #559"), whenever any applicable statute, rule or order requires a
document to be signed and the document is electronically filed, the document shall contain an electronic signature or
a scanned copy of the original signature. An electronic signature shall consist of "s/" followed by the first and last
name of the person signing. Security of a password issued to an attorney is the attorney's responsibility. An original
signed copy of all filings shall be maintained in the attorney's file in accordance with General Order #559.

All parties with legal representation must file documents by one of the following methods:

1. INTERNET (Preferred Method): The requirements for filing, viewing and retrieving case documents over the
Internet are: A personal computer running Microsoft Windows; an Internet provider using dial−up, or broadband;
Mozilla Firefox or Internet Explorer; Adobe Acrobat to convert word processor formatted documents to portable
document format (PDF); and a document scanner. The URL address is www.nyeb.uscourts.gov. A password is
needed to file documents into this system. Please contact the Court to obtain a password. In addition, a Pacer login is
needed to view or print documents from this system. A Pacer login can be obtained by calling the Pacer Service
Center at 1−800−676−6856 or by visiting their website at http://pacer.psc.uscourts.gov.

2. DISKETTE or CD−ROM/DVD, PDF FORMAT: If you are not equipped or have not registered to file over the
Internet, you must submit your documents on a diskette or CD−ROM/DVD, in PDF format. Adobe Acrobat software
will provide you with the ability to create documents in PDF format; additionally, word processing programs such as
Corel WordPerfect and Microsoft Word include a built−in conversion utility. Use a separate diskette or
CD−ROM/DVD for each filing. Submit the diskette or CD−ROM/DVD in an envelope with the case name, case
number, type and title of the document, and the file name on the diskette or CD−ROM/DVD.

Important Note: Proofs of claim may be filed over the Internet, on diskette or CD−ROM/DVD, or in paper
form.

Adversary Proceedings filed relative to cases assigned to the ECF system will also be assigned to the system.
Documents filed in such proceedings MUST comply with the foregoing electronic filing requirements.
In Chapter 7, 12 and 13 cases, the debtor is responsible for serving a copy of the petition on the trustee appointed in
the case. Refer to the Notice of Meeting of Creditors accompanying this notice for the name and mailing address of
the trustee.

In Chapter 11 cases, the debtor is responsible for serving a copy of the petition on the Internal Revenue Service and
the Securities and Exchange Commission. Refer to second page of the Notice of Meeting of Creditors accompanying
this notice for their respective addresses.

Parties without legal representation may file documents in paper form, in accordance with procedures set forth in the
court's Local Rules.

Dated: October 28, 2015
                                              For the Court, Robert A. Gavin, Jr., Clerk of Court
                 Case 1-15-44838-nhl                      Doc 8   Filed 10/30/15   Entered 10/31/15 00:18:51


     NOTICE TO CHAPTER 7 DEBTORS AND DEBTORS' ATTORNEYS

What To Submit Prior To The Meeting Of Creditors
You must submit to the Chapter 7 Trustee assigned to your case the following:

1. A copy of the Chapter 7 petition (complete with all schedules and the statement of financial affairs) which bears a
copy of the Debtor's signature.

Note: The petition should not reflect the Debtor's signature as /s/.

2. Copies of all payment advices (i.e., pay stubs) or other evidence of payment received within 60 days before the
date of the filing of the petition by the Debtor from any employer of the Debtor. (See Bankruptcy Code §
521(a)(1)(iv))

Note: If such payment advices are not available or the Debtor does not have payment advices then the Debtor should
provide the Trustee and file with the Bankruptcy Court a notarized affidavit of the Debtor explaining the
circumstances.

3. A copy of the Federal income tax return (or a transcript of such return) for the most recent tax year ending
immediately before the commencement of the case and for which the Federal income tax return was filed.

Note: The tax return or transcript must be provided to the Chapter 7 Trustee no later than 7 days before the meeting
of creditors. (See Bankruptcy Code § 521(e)(2)(A)(i)) The tax return or transcript should NOT be filed with the
Bankruptcy Court.

The Chapter 7 Trustees request that this information be provided as soon as possible after the petition is filed. The
name and address of the assigned Chapter 7 Trustee appears on the meeting notice.

These requirements do not supersede or replace any of the requirements under the Bankruptcy Code, Bankruptcy
Rules and Local Bankruptcy Rules.



What to bring to the Meeting of Creditors
Each Chapter 7 Debtor should bring to the meeting of creditors: (a) original government issued photo identification
and (b) an original social security card or other original government issued document that reflects the Debtor's social
security number.




BLnef.jsp [Notice of Electronic Filing rev. 12/14/2010]
